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                            IN THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF KANSAS

DASHAUN MCCRAY,                                       )
                                                      )
               Plaintiff,                             ) Case No. 2:22-cv-02154-DDC-ADM
                                                      )
v.                                                    )
                                                      )
DENIS McDONOUGH, M.D., SECRETARY                      )
DEPARTMENT OF VETERANS’ AFFAIRS                       )
                                                      )
               Defendants.                            )

               MOTION TO REQUEST CHAMBERS TO REMOVE OR STRIKE
                           EXHIBIT FILED UNDER SEAL

       COMES NOW Plaintiff, DaShaun McCray, by and through her counsel of record and

hereby requests the Honorable Court to remove or strike an exhibit that was to be filed under

seal. As grounds for this Motion, Plaintiff states as follows:

       1.      Defendant filed his Motion for Summary Judgment on September 15, 2023.

       2.      Plaintiff filed her Response to Summary Judgment on December 1, 2023.

       3.      Plaintiff’s Response had several exhibits attached, numbered 1 through 17.

       4.      Exhibit 17 (which is labeled Exhibit 18 because there is no Exhibit 15) was initially

filed under seal.

       5.      On December 6, 2023, the exhibits to Plaintiff’s response were filed.

       6.      Although Exhibit 17 was originally filed under seal, it was inadvertently attached

to the other exhibits in the December 6 filing.

       7.      Plaintiff’s counsel’s assistant contacted the Court Clerk, and was told to file a

Provisionally Sealed Exhibit and a Notice of Proposed Sealed Record, after which time the

unsealed document would be removed from the docket.

       8.      To date, the exhibit remains on the docket.
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              Plaintiff’s counsel’s assistant called the Court Clerk again today, and was told she

would need to file a motion to have Chambers remove the exhibit from the docket. This is that

motion.

       WHEREFORE, Plaintiff requests that Chambers remove Exhibit 17 from the exhibits

filed on December 6, 2023.

                                            Respectfully submitted,



                                            /s/ Rebecca M. Randles
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                                            ATTORNEYS FOR PLAINTIFF




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of December, 2023, a true and correct copy of this

pleading was served via ECF/Pacer to all counsel of record.


                                            /s/ Rebecca M. Randles
                                            Attorney for Plaintiff




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